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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: PHILIPS RECALLED CPAP, BI-                  )
  LEVEL PAP, AND MECHANICAL                          )
  VENTILATOR PRODUCTS                                ) Master Docket: Misc. No. 21-1230
  LITIGATION                                         )
                                                     )
                                                     ) MDL No. 3014
  This Document Relates to:                          )
  (1) Carter v. Koninklijke Philips N.V., et         )
      al., 2:22-cv-00383                             )
  (2) Dobbs v. Aerocare Home Medical, Inc.,          )
      et al., 2:22-cv-01469                          )
  (3) Graham v. Respironics, Inc., et al.,           )
      2:22-cv-00224                                  )
  (4) King v. Philips RS North America LLC,          )
      et al., 2:24-cv-01693                          )
  (5) Murray v. Koninklijke Philips, N.V., et        )
      al., 2:23-cv-00627                             )
  (6) Papsun v. B. Braun Medical, Inc., et al.,      )
      2:23-cv-1211                                   )
  (7) Roberts v. Philips Respironics Inc., et        )
      al., 2:23-cv-1027                              )
  (8) Traversa v. Koninklijke Philips, N.V.,         )
      et al., 2:22-cv-00652                          )
  (9) Vazquez v. Respironics, Inc., et al.,          )
      2:22-cv-00130                                  )

                   JOINT PROPOSED SCHEDULE FOR MAY 6, 2025
                 ORAL ARGUMENT ON PENDING REMAND MOTIONS

       Pursuant to the Court’s March 21, 2025 Opinion (ECF No. 3249), the parties jointly submit

this proposed schedule for the May 6, 2025 oral argument on pending remand motions. The parties

currently expect that remand motions in the five below-listed cases will be argued and have

presented the cases in the order that they propose they be heard, starting with the motion that will

be argued remotely (Vazquez), followed by the three motions that involve application of the

fraudulent joinder doctrine (Graham, Traversa, and Murray), and ending with the motion that

involves, among other issues, whether the amount-in-controversy requirement is met (King):
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       1. Vazquez v. Respironics, Inc., et al., Case No. 2:22-cv-00130;

       2. Graham v. Respironics, Inc., et al., Case No. 2:22-cv-00224;

       3. Traversa v. Koninklijke Philips, N.V., et al., Case No. 2:22-cv-00652;

       4. Murray v. Koninklijke Philips, N.V., et al., Case No. 2:23-cv-00627; and

       5. King v. Philips RS North America LLC, et al., Case No. 2:24-cv-01693.

       Based on communications with plaintiffs’ counsel, counsel for the Philips Defendants

understand that the remand motions filed in Papsun and Roberts will be decided on the papers

without oral argument, and that plaintiffs in Carter and Dobbs have agreed to dismiss their

claims.1 Counsel for the Philips Defendants have attempted to contact counsel for the plaintiff in

Murray regarding whether his motion will be argued or decided on the papers. Because they have

been unable to reach Mr. Murray’s counsel, the parties have included Mr. Murray’s motion in the

proposed schedule out of an abundance of caution.



Dated: May 2, 2025                                  Respectfully submitted,

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  We also understand that the plaintiff in McNiffe is participating in the master personal injury
settlement and the plaintiff in Trueblood has voluntarily dismissed his claims (see Case No. 2:23-
cv-1304, ECF No. 18). Thus, these plaintiffs’ remand motions are moot.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2025, the foregoing document was electronically filed with

the Clerk of the Court and served upon counsel of record through the Court’s ECF filing system.



                                            /s/ John P. Lavelle, Jr.
                                            John P. Lavelle, Jr




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